B1 (Official Form 1)Case
                     (4/10)    14-40155             Doc 1         Filed 11/04/14              Entered 11/04/14 18:41:00                          Desc Main
                                                           Document
                                    UNITED STATES BANKRUPTCY COURT                            Page 1 of 44
                                                                                                                                       VOLUNTARY PETITION
                                   __________ District        of __________
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Coates, Robert D.
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                  (if more than one, state all):
 1588
 Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
 224 East 89th Street
 Chicago, IL
                                                                      ZIP CODE 60619                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Cook
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                     ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                           ZIP CODE
                      Type of Debtor                                        Nature of Business                              Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                     (Check one box.)                                  the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                                  Chapter 7               Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in                Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                  Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                              Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                   ✔       Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                              Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                  Nature of Debts
                                                              ___________________________________                                         (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                       debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization              § 101(8) as “incurred by an
                                                                      under Title 26 of the United States              individual primarily for a
                                                                      Code (the Internal Revenue Code).                personal, family, or house-
                                                                                                                       hold purpose.”
                                Filing Fee (Check one box.)                                                                       Chapter 11 Debtors
                                                                                                 Check one box:
 ✔      Full Filing Fee attached.                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is           Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------
                                                                                                 Check all applicable boxes:
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
 ✔         Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-          25,001-           50,001-          Over
                                                             5,000           10,000         25,000           50,000            100,000          100,000

 Estimated Assets
                              ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
 Estimated Liabilities
                              ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
B1 (Official Form 1)Case
                     (4/10)     14-40155            Doc 1          Filed 11/04/14 Entered 11/04/14 18:41:00                                       Desc Main              Page 2
 Voluntary Petition                                                  Document     Page  2Debtor(s):
                                                                                   Name of of 44
 (This page must be completed and filed in every case.)                                Robert D. Coates
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed: Northern District of Illinois (Chicago)                                 13-18143                                          04/30/2013
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                      Case Number:                                     Date Filed:

 District:                                                                                       Relationship:                                   Judge:

                                           Exhibit A                                                                                 Exhibit B
                                                                                                                     (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)                           whose debts are primarily consumer debts.)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                                 or 13 of title 11, United States Code, and have explained the relief available under
                                                                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                 required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                 X     /s/ Steven O. Hamill                       11/04/2014
                                                                                                     Signature of Attorney for Debtor(s)       (Date)

                                                                                       Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

 ✔       No.


                                                                                       Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔       Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

          Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form) 1 (4/10)                                       Document     Page 3 of 44                                                                       Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      Robert D. Coates
                                                                                   Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                  Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is
and correct.                                                                                true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I         Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

X     /s/ Robert D. Coates                                                                  X
     Signature of Debtor                                                                        (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
      11/04/2014                                                                                Date
     Date
                                 Signature of Attorney*                                                Signature of Non-Attorney Bankruptcy Petition Preparer

X     /s/ Steven O. Hamill                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Steven O. Hamill, Esq.                                                                provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Law Offices of Steven O. Hamill                                                       guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
     Firm Name                                                                              maximum fee for services chargeable by bankruptcy petition preparers, I have given
      3843 West 95th Street                                                                 the debtor notice of the maximum amount before preparing any document for filing
                                                                                            for a debtor or accepting any fee from the debtor, as required in that section.
      Evergreen Park, IL 60805                                                              Official Form 19 is attached.
     Address
      708/422-8802
     Telephone Number                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
      11/04/2014
     Date                                                                                       Social-Security number (If the bankruptcy petition preparer is not an
                                                                                                individual, state the Social-Security number of the officer, principal,
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                   responsible person or partner of the bankruptcy petition preparer.) (Required
certification that the attorney has no knowledge after an inquiry that the information          by 11 U.S.C. § 110.)
in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true       Address
and correct, and that I have been authorized to file this petition on behalf of the         X
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States        Date
Code, specified in this petition.
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person,
X                                                                                           or partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                            assisted in preparing this document unless the bankruptcy petition preparer is not an
     Title of Authorized Individual                                                         individual.

     Date                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                            conforming to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                            and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
                                                                                            or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




               Reset                                                                                                Save As...                            Print
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                Coates, Robert D.
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        ’ 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       ’ 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 ’ Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 ’ Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 ’ Active military duty in a military combat zone.

       ’ 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                                                 /s/ Robert D. Coates
                                          Signature of Debtor: ________________________

                                                    11/4/2014
                                          Date: _________________
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B6 Summary (Official Form 6 - Summary) (12/07)



                                          United States Bankruptcy Court
                                          _______________
                                              Northern    District Of ______________
                                                                           Illinois
                 Coates, Robert D.
In re ___________________________________,                                                Case No. ___________________
                       Debtor
                                                                                                       13
                                                                                          Chapter ____________

                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS                LIABILITIES             OTHER

 A - Real Property                                                                    $ 120,000
                                                     Y                   1
 B - Personal Property                                                                $ 12,570
                                                     Y                   3
 C - Property Claimed
     as Exempt
                                                     Y                   1
 D - Creditors Holding                                                                                      $ 103,500
     Secured Claims
                                                     Y                   1
 E - Creditors Holding Unsecured                                                                            $0
     Priority Claims                                 Y                   3
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $ 3,511
     Nonpriority Claims                              Y                   1

 G - Executory Contracts and
     Unexpired Leases                                Y                   1

 H - Codebtors
                                                     Y                   1
 I - Current Income of                                                                                                              $ 2,387
     Individual Debtor(s)
                                                     Y                   1
 J - Current Expenditures of Individual                                                                                             $ 1,822
     Debtors(s)
                                                     Y                   1
                                          TOTAL                                       $ 132,570             $ 107,011
                                                                        14
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Form 6 - Statistical Summary (12/07)


                                       United States Bankruptcy Court
                                                    _______________
                                                     Northern       District Of ______________
                                                                                Illinois
               Coates, Robert D.
In re ___________________________________,                                              Case No. ___________________
                       Debtor
                                                                                                     13
                                                                                        Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $0

 Taxes and Certain Other Debts Owed to Governmental Units             $0
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $0
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $0

 Domestic Support, Separation Agreement, and Divorce Decree           $0
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $0
 Obligations (from Schedule F)

                                                           TOTAL      $0

State the following:
 Average Income (from Schedule I, Line 16)                            $ 2,387

 Average Expenses (from Schedule J, Line 18)                          $ 1,822

 Current Monthly Income (from Form 22A Line 12; OR, Form              $ 3,115
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $0
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $0
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $0
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $ 3,511
  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $3,511
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                   Coates, Robert D.
In re _____________________________________________,                                                    Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION

 Residential property                            Fee Simple
 224 East 89th Street                                                                                   120,000                        100,000
 Chicago, IL 60619




                                                                                 Total'                 120,000
                                                                                 (Report also on Summary of Schedules.)
           Case
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                      Coates, Robert D.
In re _______________________________________________,                                                    Case No. _________________________
                 Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                  N                                                                           IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O              DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                  N                    OF PROPERTY                                              SECURED CLAIM
                                                  E                                                                              OR EXEMPTION

 1. Cash on hand.                                       Cash on hand                                                                     20
 2. Checking, savings or other finan-
 cial accounts, certificates of deposit                 Checking account with TCF Bank ($200)                                           250
 or shares in banks, savings and loan,                  Checking account with Chase ($50)
 thrift, building and loan, and home-
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-                x
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer                   Misc. household furniture & appliances                                          800
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                  x
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.
                                                        Necessary wearing apparel                                                       200
 7. Furs and jewelry.
                                                  x
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.              x
 9. Interests in insurance policies.
 Name insurance company of each                   x
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                     x
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under        x
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
           Case
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      Coates, Robert D.
In re ______________________________________________,                                 Case No. _________________________
                 Debtor                                                                                (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)

                                                                                                     CURRENT VALUE OF
                                                                                                     DEBTOR’S INTEREST
                                                  N                                                  IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O        DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                  N              OF PROPERTY                           SECURED CLAIM
                                                  E                                                     OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.
                                                  x
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                   x
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                               x
 15. Government and corporate bonds
 and other negotiable and non-                    x
 negotiable instruments.

 16. Accounts receivable.
                                                  x
 17. Alimony, maintenance, support,
 and property settlements to which the            x
 debtor is or may be entitled. Give
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give               x
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable        x
 for the benefit of the debtor other than
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death         x
 benefit plan, life insurance policy, or trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax            x
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated
 value of each.
           Case
B6B (Official Form14-40155        Doc 1
                   6B) (12/07) -- Cont.            Filed 11/04/14 Entered 11/04/14 18:41:00                          Desc Main
                                                    Document     Page 11 of 44
                       Coates, Robert D.
In re _________________________________________________,                                             Case No. _________________________
                 Debtor                                                                                               (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)


                                                                                                                    CURRENT VALUE OF
                                                                                                                    DEBTOR’S INTEREST
                                               N                                                                    IN PROPERTY, WITH-
          TYPE OF PROPERTY                     O            DESCRIPTION AND LOCATION                                OUT DEDUCTING ANY
                                               N                  OF PROPERTY                                         SECURED CLAIM
                                               E                                                                       OR EXEMPTION


 22. Patents, copyrights, and other                401 (k) Plan with former employer, Illinois
 intellectual property. Give particulars.          Action For Children                                                      1,300
 23. Licenses, franchises, and other general
 intangibles. Give particulars.                x
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
                                               x
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,               2006 Dodge Charger Automobile
 and other vehicles and accessories.                                                                                        10,000
 26. Boats, motors, and accessories.
                                               x
 27. Aircraft and accessories.
                                               x
 28. Office equipment, furnishings,
 and supplies.
                                               x

 29. Machinery, fixtures, equipment,
 and supplies used in business.                x

 30. Inventory.
                                               x
 31. Animals.
                                               x
 32. Crops - growing or harvested.
 Give particulars.                             x

 33. Farming equipment and implements.
                                               x
 34. Farm supplies, chemicals, and feed.
                                               x
 35. Other personal property of any kind
 not already listed. Itemize.                  x

                                                            __________continuation sheets attached     Total'    $ 12,570
                                                                   (Include amounts from any continuation
                                                                   sheets attached. Report total also on
                                                                               Summary of Schedules.)
           Case
B6C (Official Form14-40155
                   6C) (12/07)         Doc 1       Filed 11/04/14 Entered 11/04/14 18:41:00                  Desc Main
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                    Coates, Robert D.
In re ____________________________________________,                                       Case No. _________________________
                 Debtor                                                                                    (If known)


                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:   G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                     $136,875.
 G 11 U.S.C. § 522(b)(2)
 G
 ✔ 11 U.S.C. § 522(b)(3)




                                                                                                               CURRENT
                                              SPECIFY LAW                      VALUE OF                   VALUE OF PROPERTY
  DESCRIPTION OF PROPERTY                   PROVIDING EACH                     CLAIMED                    WITHOUT DEDUCTING
                                               EXEMPTION                      EXEMPTION                       EXEMPTION


Residential property                 735 ILCS 5/12-901
224 East 89th Street                                                            15,000                           120,000
Chicago, IL 60619




Checking account with TCF
Bank ($200), Checking account
                              735 ILCS 5/12-1001(b)                              1,100                            1,100
with Chase ($50), Misc.
household furniture &
appliances ($800)




401 (k) Plan with former
employer, Illinois Action For
                                     40 ILCE 5/11-223                            1,300                             1,300
Children




2006 Dodge Charger
Automobile
                                     735 ILCS 5/12-1001(c)                       2,400                            10,000
                 Case 14-40155                Doc 1                 Filed 11/04/14 Entered 11/04/14 18:41:00                                               Desc Main
                                                                     Document     Page 13 of 44
B6D (Official Form 6D) (12/07)
                      In re ____________________________________,
                                        Coates, Robert D.                                                            Case No. __________________________________
                                         Debtor                                                                                             (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                   HUSBAND, WIFE,




  CREDITOR’S NAME AND                                                 DATE CLAIM WAS                         UNLIQUIDATED              AMOUNT OF CLAIM                UNSECURED
                                                                                                CONTINGENT
                                                    COMMUNITY
                                        CODEBTOR




     MAILING ADDRESS                                                     INCURRED,                                                         WITHOUT                    PORTION, IF
                                                     JOINT, OR




 INCLUDING ZIP CODE AND                                               NATURE OF LIEN ,                                      DISPUTED   DEDUCTING VALUE                   ANY
   AN ACCOUNT NUMBER                                                        AND                                                         OF COLLATERAL
    (See Instructions Above.)                                           DESCRIPTION
                                                                       AND VALUE OF
                                                                         PROPERTY
                                                                      SUBJECT TO LIEN
 ACCOUNT
ACCOUNT   NO.
        NO.XXXXXX7278358
                                                                     Secured mortgage lien on
                                                                     Residential property
Wells Fargo Home Mortgage
                                                                     224 East 89th Street                                                     100,000                         0
Attn: Bankruptcy Dept.
8480 Stagecoach Cir.                                                 Chicago, IL 60619
Frederick, MD 21701                                                  (Arrears of $14,000)

                                                                      VALUE
                                                                     VALUE    $
                                                                           $120,000
ACCOUNTNO.
ACCOUNT NO.12CH31264
                                                                     Notice - foreclosure
Wells Fargo Bank c/o                                                 attorneys for mortgage
Codilis & Associates                                                 lender                                                                        0                          0
Attorneys at Law
15W030 N. Frontage Rd.
Burr Ridge, IL 60527-6921
                                                                      VALUE
                                                                     VALUE       $
                                                                           $120,000

 ACCOUNT
ACCOUNT      NO.
        NO. 5XXXXXXXXXX4990001
                                                                     Secured payment to 2006
1st Investers                                                        Dodge Charger
Attn: Bankruptcy Dept.
                                                                                                                                                2,000                         0
380 INterstate N Pkwy St.
Atlanta, GA 30339

                                                                      VALUE
                                                                     VALUE     $
                                                                           $10,000
____continuation sheets                                              Subtotal ►                                                        $ 102,000                    $0
      attached                                                       (Total of this page)
                                                                     Total ►                                                           $ 102,000                    $0
                                                                     (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report
                                                                                                                                       Schedules.)                  also on Statistical
                                                                                                                                                                    Summary of Certain
                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                    Data.)
              Case 14-40155                  Doc 1             Filed 11/04/14 Entered 11/04/14 18:41:00                                                        Desc Main
                                                                Document     Page 14 of 44
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In re ____________________________________,
                  Coates, Robert D.                                               Case No. __________________________________
                  Debtor                                                                                 (if known)

                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                             (Continuation Sheet)




                                              HUSBAND, WIFE,




                                                                                                            UNLIQUIDATED
 CREDITOR’S NAME AND                                              DATE CLAIM WAS                                                      AMOUNT OF CLAIM               UNSECURED




                                                                                               CONTINGENT
                                               COMMUNITY
                                  CODEBTOR
    MAILING ADDRESS                                              INCURRED, NATURE                                                         WITHOUT                   PORTION, IF



                                                JOINT, OR




                                                                                                                           DISPUTED
  INCLUDING ZIP CODE                                                OF LIEN , AND                                                     DEDUCTING VALUE                  ANY
    AND AN ACCOUNT                                                DESCRIPTION AND                                                      OF COLLATERAL
          NUMBER                                                VALUE OF PROPERTY
   (See Instructions Above.)                                      SUBJECT TO LIEN


ACCOUNTNO.
ACCOUNT NO.




                                                               VALUE
                                                               VALUE $   $
 ACCOUNT
ACCOUNT NO. NO.




                                                               VALUE
                                                               VALUE $   $
 ACCOUNT
ACCOUNT NO.NO.




                                                               VALUE$$
                                                               VALUE
 ACCOUNT
ACCOUNT  NO.
        NO.




                                                               VALUE$ $
                                                               VALUE
 ACCOUNT
ACCOUNT NO.NO.




                                                                VALUE
                                                               VALUE $   $
Sheet no.___of___continuation                                                Subtotal (s)►                                            $                         $
sheets attached to Schedule of                                       (Total(s) of this page)
Creditors Holding Secured
Claims
                                                                               Total(s) ►                                             $                         $
                                                                    (Use only on last page)
                                                                                                                                      (Report also on           (If applicable,
                                                                                                                                      Summary of Schedules.)    report also on
                                                                                                                                                                Statistical Summary
                                                                                                                                                                of Certain
                                                                                                                                                                Liabilities and
                                                                                                                                                                Related Data.)
              Case 14-40155              Doc 1        Filed 11/04/14 Entered 11/04/14 18:41:00                               Desc Main
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B6E (Official Form 6E) (12/07)

          In re                  Coates, Robert D.                 ,                                    Case No.
                                         Debtor                                                                              (if known)


        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

✔    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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 In re                      Coates, Robert D.                      ,             Case No.
                            Debtor                                                                    (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                           ____ continuation sheets attached
                   Case 14-40155                      Doc 1                    Filed 11/04/14 Entered 11/04/14 18:41:00                                                 Desc Main
B6E (Official Form 6E) (12/07) – Cont.
                                                                                Document     Page 17 of 44
      Coates, Robert D.
In re __________________________________________,                                                       Case No. _________________________________
                   Debtor                                                                                                 (if known)

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                          (Continuation Sheet)

                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                              HUSBAND, WIFE,

                                                               COMMUNITY




                                                                                                                        UNLIQUIDATED
         CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                        AMOUNT          AMOUNT        AMOUNT




                                                                                                           CONTINGENT
                                                                JOINT, OR
          MAILING ADDRESS                                                        INCURRED AND                                                           OF            ENTITLED         NOT




                                                                                                                                       DISPUTED
        INCLUDING ZIP CODE,                                                     CONSIDERATION                                                          CLAIM             TO         ENTITLED
       AND ACCOUNT NUMBER                                                          FOR CLAIM                                                                          PRIORITY          TO
                                                   CODEBTOR
         (See instructions above.)                                                                                                                                                 PRIORITY, IF
                                                                                                                                                                                       ANY




 Account No.




 Account No.




 Account No.




 Account No.




 Sheet no. ___ of ___ continuation sheets attached to Schedule of                                              Subtotals'                         $0              $
 Creditors Holding Priority Claims                                                                    (Totals of this page)

                                                                                                                   Total'                         $   0
                                                                               (Use only on last page of the completed
                                                                               Schedule E. Report also on the Summary
                                                                               of Schedules.)

                                                                                                                   Totals'                                        $               $
                                                                               (Use only on last page of the completed
                                                                               Schedule E. If applicable, report also on
                                                                               the Statistical Summary of Certain
                                                                               Liabilities and Related Data.)
                   Case 14-40155                      Doc 1                    Filed 11/04/14 Entered 11/04/14 18:41:00                                                 Desc Main
B6E (Official Form 6E) (12/07) – Cont.
                                                                                Document     Page 18 of 44
                  Coates, Robert D.
In re __________________________________________,                                                       Case No. _________________________________
                   Debtor                                                                                                 (if known)

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                          (Continuation Sheet)

                                                                                                                                              Type of Priority for Claims Listed on This Sheet




                                                              HUSBAND, WIFE,

                                                               COMMUNITY




                                                                                                                        UNLIQUIDATED
         CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                        AMOUNT          AMOUNT        AMOUNT




                                                                                                           CONTINGENT
                                                                JOINT, OR
          MAILING ADDRESS                                                        INCURRED AND                                                           OF            ENTITLED         NOT




                                                                                                                                       DISPUTED
        INCLUDING ZIP CODE,                                                     CONSIDERATION                                                          CLAIM             TO         ENTITLED
       AND ACCOUNT NUMBER                                                          FOR CLAIM                                                                          PRIORITY          TO
                                                   CODEBTOR
         (See instructions above.)                                                                                                                                                 PRIORITY, IF
                                                                                                                                                                                       ANY




 Account No.




 Account No.




 Account No.




 Account No.




 Sheet no. ___ of ___ continuation sheets attached to Schedule of                                              Subtotals'                         $0              $
 Creditors Holding Priority Claims                                                                    (Totals of this page)

                                                                                                                   Total'                         $   0
                                                                               (Use only on last page of the completed
                                                                               Schedule E. Report also on the Summary
                                                                               of Schedules.)

                                                                                                                   Totals'                                        $               $
                                                                               (Use only on last page of the completed
                                                                               Schedule E. If applicable, report also on
                                                                               the Statistical Summary of Certain
                                                                               Liabilities and Related Data.)
               Case
B6F (Official Form 6F)14-40155
                       (12/07)                  Doc 1            Filed 11/04/14 Entered 11/04/14 18:41:00                                                     Desc Main
                                                                  Document     Page 19 of 44
                    Coates, Robert D.
In re __________________________________________,                                                           Case No. _________________________________
                         Debtor                                                                                                  (if known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                                  AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                   CONTINGENT
                                             CODEBTOR




       MAILING ADDRESS                                                         INCURRED AND                                                                     CLAIM




                                                                                                                                               DISPUTED
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                             CLAIM.
          (See   instructions above.)                                      IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


  ACCOUNT NO.                                                            Unsecured credit card debt

 Capital One
 Attn: Bankruptcy Dept.                                                                                                                                          728
 PO Box 85520
 Richmond, VA 23285

  ACCOUNT NO.                                                            Unsecured debt

 DirectTV
 c/o NCO Fin/09                                                                                                                                                  233
 507 Prudential Rd.
 Horsham, PA 19044

  ACCOUNT NO.                                                            Unsecured debt

 HSBC Bank Nevada, N.A.
 c/o Portfolio Recvry&Affil                                                                                                                                     1,339
 120 Corporate Blvd, Ste 1
 Norfolk, VA 23502

  ACCOUNT NO.                                                            Unsecured Non-Purchase Money
                                                                         Security debt
 Springleaf Financial Services
 Attn: Bankruptct Dept.
                                                                                                                                                                 511
 PO Box 3251
 Evansville, IN 47731

                                                                                                                                    Subtotal'             $ 2,811

  _____continuation sheets attached                                                                                            Total'                     $
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
B6F (Official Form 6F)14-40155
                       (12/07) - Cont.Doc                1       Filed 11/04/14 Entered 11/04/14 18:41:00                                                Desc Main
                                                                  Document     Page 20 of 44
In re Coates, Robert D.
      __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                               (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
     CREDITOR’S NAME,                                                         DATE CLAIM WAS                                                              AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
      MAILING ADDRESS                                                          INCURRED AND                                                                 CLAIM
    INCLUDING ZIP CODE,                                                     CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                              CLAIM.
         (See   instructions above.)                                       IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


 ACCOUNT NO.                                                             Unsecured debt

TNB - Target
Attn: Bankruptcy Dept.                                                                                                                                           502
PO Box 673
Minneapolis, MN 55440

 ACCOUNT NO.                                                             Unsecured debt

 Verizon Wireless/Great
 Attn: Bankruptcy Dept.                                                                                                                                          198
 1515 Woodfield Rd., #140
 Schaumburg, IL 60173-6046

 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no.___of___ continuation sheets attached                                                                                      Subtotal'           $ 700
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total'                     $ 3,511
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
B6F (Official Form 6F)14-40155
                       (12/07) - Cont.Doc                1       Filed 11/04/14 Entered 11/04/14 18:41:00                                                    Desc Main
                                                                  Document     Page 21 of 44
                   Coates, Robert D.
In re __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                             (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
     CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
      MAILING ADDRESS                                                        INCURRED AND                                                                      CLAIM
    INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                            CLAIM.
         (See   instructions above.)                                     IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no.___of___ continuation sheets attached                                                                                      Subtotal'           $
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total'                     $
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
B6F (Official Form 6F)14-40155
                       (12/07) - Cont.Doc                1       Filed 11/04/14 Entered 11/04/14 18:41:00                                                    Desc Main
                                                                  Document     Page 22 of 44
                   Coates, Robert D.
In re __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                             (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
     CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
      MAILING ADDRESS                                                        INCURRED AND                                                                      CLAIM
    INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                            CLAIM.
         (See   instructions above.)                                     IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no.___of___ continuation sheets attached                                                                                      Subtotal'           $
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total'                     $
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
B6F (Official Form 6F)14-40155
                       (12/07) - Cont.Doc                1       Filed 11/04/14 Entered 11/04/14 18:41:00                                                    Desc Main
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                   Coates, Robert D.
In re __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                             (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
     CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
      MAILING ADDRESS                                                        INCURRED AND                                                                      CLAIM
    INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                            CLAIM.
         (See   instructions above.)                                     IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no.___of___ continuation sheets attached                                                                                      Subtotal'           $
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total'                     $
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
               Case
B6F (Official Form 6F)14-40155
                       (12/07) - Cont.Doc                1       Filed 11/04/14 Entered 11/04/14 18:41:00                                                    Desc Main
                                                                  Document     Page 24 of 44
                   Coates, Robert D.
In re __________________________________________,                                                           Case No. _________________________________
                      Debtor                                                                                                  (if known)

       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                             (Continuation Sheet)




                                                        HUSBAND, WIFE,

                                                         COMMUNITY
     CREDITOR’S NAME,                                                       DATE CLAIM WAS                                                                   AMOUNT OF




                                                                                                                               UNLIQUIDATED
                                                                                                                  CONTINGENT
                                             CODEBTOR


                                                          JOINT, OR




                                                                                                                                              DISPUTED
      MAILING ADDRESS                                                        INCURRED AND                                                                      CLAIM
    INCLUDING ZIP CODE,                                                   CONSIDERATION FOR
   AND ACCOUNT NUMBER                                                            CLAIM.
         (See   instructions above.)                                     IF CLAIM IS SUBJECT TO
                                                                            SETOFF, SO STATE.


 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no.___of___ continuation sheets attached                                                                                      Subtotal'           $
 to Schedule of Creditors Holding Unsecured
 Nonpriority Claims

                                                                                                                              Total'                     $
                                                                                (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)

In re                 Coates, Robert D.                       ,                    Case No.
                    Debtor                                                                              (if known)


        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).


✔ Check this box if debtor has no executory contracts or unexpired leases.
          NAME AND MAILING ADDRESS,                                      DESCRIPTION OF CONTRACT OR LEASE AND
              INCLUDING ZIP CODE,                                         NATURE OF DEBTOR’S INTEREST. STATE
    OF OTHER PARTIES TO LEASE OR CONTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
           Case
B6H (Official Form14-40155
                   6H) (12/07)           Doc 1       Filed 11/04/14 Entered 11/04/14 18:41:00                              Desc Main
                                                      Document     Page 26 of 44
In re                 Coates, Robert D.                   ,                                       Case No.
                       Debtor                                                                                              (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔    Check this box if debtor has no codebtors.


               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
               Case
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    In re                    Coates, Robert D.                         ,                         Case No.
                         Debtor                                                                                              (if known)


                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
    The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
    filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
    calculated on this form may differ from the current monthly income calculated on From 22A, 22B, or 22C.


      Debtor’s Marital                                                     DEPENDENTS OF DEBTOR AND SPOUSE
      Status:
                Sep.        RELATIONSHIP(S): 2 minor children                                                                AGE(S): 18, 10

      Employment:                                          DEBTOR                                                   SPOUSE
      Occupation
      Name of Employer                Single Room Housing Assistance
      How long employed                          501 N. Central Ave.
      Address of Employer
                                              Chicago, IL 60644



    INCOME: (Estimate of average or projected monthly income at time               DEBTOR                   SPOUSE
                 case filed)
                                                                                    3,115
                                                                                   $________________        $______________
    1. Monthly gross wages, salary, and commissions
        (Prorate if not paid monthly)                                              $________________        $______________
    2. Estimate monthly overtime

    3. SUBTOTAL
                                                                                        3,115
                                                                                       $_______________         $_____________
    4. LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                        $ 728                    $
       b. Insurance                                                                $                        $
       c. Union dues                                                               $                        $
       d. Other (Specify):                                                         $                        $

    5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                  $ 728                    $
    6. TOTAL NET MONTHLY TAKE HOME PAY                                                 $ 2,387                  $

    7. Regular income from operation of business or profession or farm             $                        $
         (Attach detailed statement)
    8. Income from real property                                                   $                        $
    9. Interest and dividends                                                      $                        $
    10. Alimony, maintenance or support payments payable to the debtor for         $                        $
           the debtor’s use or that of dependents listed above
    11. Social security or government assistance
         (Specify):                                                                $                        $
    12. Pension or retirement income
    13. Other monthly income                                                       $                        $
           (Specify):                                                              $                        $

    14. SUBTOTAL OF LINES 7 THROUGH 13                                                 $0                   $

    15. AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)                         $ 2,387              $

    16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                 $ 2,387
    totals from line 15)                                 (Report also on Summary of Schedules and, if applicable,
                                                         on Statistical Summary of Certain Liabilities and Related Data)

    17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
            Case
B6J (Official Form14-40155
                  6J) (12/07)                   Doc 1       Filed 11/04/14 Entered 11/04/14 18:41:00                                    Desc Main
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            In re                   Coates, Robert D.                       ,                                    Case No.
                                   Debtor                                                                                              (if known)


              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made bi-
weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
allowed on Form22A or 22C.

          Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures labeled “Spouse.”

1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                    $ 1,012
                                                                                                                                                           _____________
    a. Are real estate taxes included?                  ✔
                                                  Yes ________      No ________
    b. Is property insurance included?                   ✔
                                                  Yes ________      No ________
2. Utilities: a. Electricity and heating fuel                                                                                                            $ 125
                                                                                                                                                           ______________
              b. Water and sewer                                                                                                                         $ 40
                                                                                                                                                           ______________
              c. Telephone                                                                                                                               $0
                                                                                                                                                          ______________
              d. Other ___________________________________________________________________                                                                 0
                                                                                                                                                         $ ______________
3. Home maintenance (repairs and upkeep)                                                                                                                   0
                                                                                                                                                         $ ______________
4. Food                                                                                                                                                    350
                                                                                                                                                         $ ______________
5. Clothing                                                                                                                                                0
                                                                                                                                                         $ ______________
6. Laundry and dry cleaning                                                                                                                              $0
                                                                                                                                                          ______________
7. Medical and dental expenses                                                                                                                           $ 60
                                                                                                                                                           ______________
8. Transportation (not including car payments)                                                                                                           $ 150
                                                                                                                                                           ______________
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                      $0
                                                                                                                                                          ______________
10.Charitable contributions                                                                                                                                0
                                                                                                                                                         $ ______________
11.Insurance (not deducted from wages or included in home mortgage payments)
          a. Homeowner’s or renter’s                                                                                                                     $0
                                                                                                                                                          ______________
          b. Life                                                                                                                                          0
                                                                                                                                                         $ ______________
          c. Health                                                                                                                                        0
                                                                                                                                                         $ ______________
          d. Auto                                                                                                                                          85
                                                                                                                                                         $ ______________
          e. Other ___________________________________________________________________                                                                   $0
                                                                                                                                                          ______________

12. Taxes (not deducted from wages or included in home mortgage payments)
(Specify) ___________________________________________________________________________                                                                    $0
                                                                                                                                                          ______________
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
          a. Auto                                                                                                                                        $0
                                                                                                                                                          ______________
          b. Other ______________________________________________________________                                                                        $0
                                                                                                                                                          ______________
          c. Other ____________________________________________________________                                                                          $0
                                                                                                                                                          ______________
14. Alimony, maintenance, and support paid to others                                                                                                     $0
                                                                                                                                                          ______________
15. Payments for support of additional dependents not living at your home                                                                                $0
                                                                                                                                                          ______________
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                         $0
                                                                                                                                                          ______________
17. Other __________________________________________________________________________                                                                      0
                                                                                                                                                         $______________
18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                                              1,822
                                                                                                                                                     $______________
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
    ________________________________________________________________________________________
    ________________________________________________________________________________________
    ________________________________________________________________________________________
20. STATEMENT OF MONTHLY NET INCOME
    a. Average monthly income from Line 15 of Schedule I                                                                                                  2,387
                                                                                                                                                         $______________
    b. Average monthly expenses from Line 18 above                                                                                                        1,822
                                                                                                                                                         $______________
    c. Monthly net income (a. minus b.)                                                                                                                   565
                                                                                                                                                         $______________
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                                Coates, Robert D.
               In re _________________________________________ ,                                                                          Case No. ______________________________
                                    Debtor                                                                                                                     (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____ sheets, and that they are true and correct to the best of
my knowledge, information, and belief.


                 11-4-2014
Date __________________________________                                                                                                      /s/ Robert D, Coates
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                       Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.

Address
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of ___ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (12/07)
                                   UNITED STATES BANKRUPTCY COURT


                           Northern
                 ______________________________                        Illinois
                                                DISTRICT OF _____________________________



In re:_____ ___________________________________,
                    Coates, Robert D.                                     Case No. ___________________________________
                          Debtor                                                               (if known)




                                     STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

______________________________________________________________________________________________________
        1. Income from employment or operation of business

None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                        AMOUNT                                                      SOURCE
                         $61,099                                                 2013: Employment

                         $65,546                                                 2012: Employment
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          2.   Income other than from employment or operation of business

None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the
✔         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

                    AMOUNT                                                                    SOURCE




_____________________________________________________________________________________________________
        3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None
✔         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                   DATES OF             AMOUNT               AMOUNT
                                                              PAYMENTS             PAID                 STILL OWING



______________________________________________________________________________________________________
None

G
✔         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*)
          any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
          debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                              DATES OF                  AMOUNT               AMOUNT
                                                                    PAYMENTS/                 PAID OR              STILL
                                                                    TRANSFERS                 VALUE OF             OWING
                                                                                              TRANSFERS

          ________________________________________________________________________________________________
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                                                                                                                                      3
None

G
✔         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
          to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

               NAME AND ADDRESS OF CREDITOR                  DATE OF             AMOUNT               AMOUNT
               AND RELATIONSHIP TO DEBTOR                    PAYMENT             PAID                 STILL OWING




______________________________________________________________________________________________________


          4. Suits and administrative proceedings, executions, garnishments and attachments

None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
          preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          and a joint petition is not filed.)

               CAPTION OF SUIT                                                   COURT OR AGENCY                STATUS OR
               AND CASE NUMBER               NATURE OF PROCEEDING                AND LOCATION                   DISPOSITION

Wells Fargo Bank vs. Robert Coates        Foreclosure                           Circuit Court Cook            Pending
12 CH 31264                                                                     County, Illinois
______________________________________________________________________________________________________

None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔         year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

               NAME AND ADDRESS                                                                       DESCRIPTION
               OF PERSON FOR WHOSE                           DATE OF                                  AND VALUE
               BENEFIT PROPERTY WAS SEIZED                   SEIZURE                                  OF PROPERTY



_____________________________________________________________________________________________________

          5.   Repossessions, foreclosures and returns

None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔         of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                        DATE OF REPOSSESSION,                         DESCRIPTION
               NAME AND ADDRESS                         FORECLOSURE SALE,                             AND VALUE
               OF CREDITOR OR SELLER                    TRANSFER OR RETURN                            OF PROPERTY


_
______________________________________________________________________________________________________
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                                                                                                                                    4

        6.    Assignments and receiverships

None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)

                                                                                                      TERMS OF
              NAME AND ADDRESS                         DATE OF                                        ASSIGNMENT
              OF ASSIGNEE                              ASSIGNMENT                                     OR SETTLEMENT




________________________________________________________________________________________________

None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)

                                            NAME AND LOCATION                                                   DESCRIPTION
              NAME AND ADDRESS              OF COURT                                       DATE OF              AND VALUE
              OF CUSTODIAN                  CASE TITLE & NUMBER                            ORDER                Of PROPERTY



______________________________________________________________________________________________________

        7.    Gifts

None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔       except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
        and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
        chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
        OF PERSON                           TO DEBTOR,                      DATE                                AND VALUE
        OR ORGANIZATION                     IF ANY                          OF GIFT                             OF GIFT



_____________________________________________________________________________________________________

        8.    Losses

None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

       DESCRIPTION                     DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                    LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
       PROPERTY                        BY INSURANCE, GIVE PARTICULARS                                           OF LOSS


             Illinois

______________________________________________________________________________________________________
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                                                                                                                                     5

           9.   Payments related to debt counseling or bankruptcy

 None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
           consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
           within one year immediately preceding the commencement of this case.

                                                         DATE OF PAYMENT,                    AMOUNT OF MONEY OR
           NAME AND ADDRESS                              NAME OF PAYER IF                    DESCRIPTION AND
           OF PAYEE                                      OTHER THAN DEBTOR                   VALUE OF PROPERTY
Steven O. Hamill                                11/3/2014                                   $1,510 ($310.00 applied as filing
Attorney at Law                                                                             fees)
3843 West 95th Street
Evergreen Park, IL 60805
 ______________________________________________________________________________________________________
         10. Other transfers
 None
 ✔          a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
           the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
           this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
           whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

           NAME AND ADDRESS OF TRANSFEREE,                                         DESCRIBE PROPERTY
           RELATIONSHIP TO DEBTOR                                                  TRANSFERRED AND
                                                                    DATE           VALUE RECEIVED


 ______________________________________________________________________________________________________
 None
 G
 ✔         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
           to a self-settled trust or similar device of which the debtor is a beneficiary.

           NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
           DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                   INTEREST IN PROPERTY


 ______________________________________________________________________________________________________

           11. Closed financial accounts

 None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
 ✔         closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
           checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
           held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
           institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
           instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)

                                               TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
           NAME AND ADDRESS                    DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
           OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING




 ______________________________________________________________________________________________________
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        12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                    NAMES AND ADDRESSES                DESCRIPTION          DATE OF TRANSFER
       OF BANK OR                          OF THOSE WITH ACCESS               OF                   OR SURRENDER,
       OTHER DEPOSITORY                    TO BOX OR DEPOSITORY               CONTENTS             IF ANY


_
______________________________________________________________________________________________________

       13. Setoffs

None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                    DATE OF                   AMOUNT
        NAME AND ADDRESS OF CREDITOR                                SETOFF                    OF SETOFF



_____________________________________________________________________________________________________

            14. Property held for another person

None    List all property owned by another person that the debtor holds or controls.
✔
        NAME AND ADDRESS                        DESCRIPTION AND
        OF OWNER                                VALUE OF PROPERTY                                  LOCATION OF PROPERTY




_____________________________________________________________________________________________________

        15. Prior address of debtor

None
G
✔       If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
        filed, report also any separate address of either spouse.



        ADDRESS                                 NAME USED                              DATES OF OCCUPANCY




_____________________________________________________________________________
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                                                                                                                                    7

         16. Spouses and Former Spouses

None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
✔        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
         years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
         any former spouse who resides or resided with the debtor in the community property state.

         NAME


______________________________________________________________________________________________________
        17. Environmental Information.

         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
         releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
         other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
         or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
         formerly owned or operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
        material, pollutant, or contaminant or similar term under an Environmental Law.
________________________________________________________________________________________________

None     a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔        unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
         governmental unit, the date of the notice, and, if known, the Environmental Law:

             SITE NAME                 NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
             AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE               LAW


______________________________________________________________________________________________________

None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔        of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

             SITE NAME                 NAME AND ADDRESS                         DATE OF         ENVIRONMENTAL
             AND ADDRESS               OF GOVERNMENTAL UNIT                     NOTICE          LAW


_____________________________________________________________________________________________________

None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔        respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.

             NAME AND ADDRESS                          DOCKET NUMBER                       STATUS OR
             OF GOVERNMENTAL UNIT                                                          DISPOSITION

______________________________________________________________________________________________________

         18 . Nature, location and name of business

None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
✔        and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
         executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
         other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
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          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities, within six years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
               the voting or equity securities within six years immediately preceding the commencement of this case.

                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                  BEGINNING AND
               NAME            OR OTHER INDIVIDUAL                  ADDRESS        NATURE OF BUSINESS              ENDING DATES
                               TAXPAYER-I.D. NO.
                               (ITIN)/ COMPLETE EIN


______________________________________________________________________________________________________

None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔         defined in 11 U.S.C. § 101.

               NAME                                      ADDRESS



______________________________________________________________________________________________________

           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

_____________________________________________________________________________________________________


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

               NAME AND ADDRESS                                                               DATES SERVICES RENDERED


________________________________________________________________________________________________

None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

               NAME                                      ADDRESS                              DATES SERVICES RENDERED



_____________________________________________________________________________________________________
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                                                                                                                               9

None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔      books of account and records of the debtor. If any of the books of account and records are not available, explain.

            NAME                                                                         ADDRESS


________________________________________________________________________________________________

None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                  NAME AND ADDRESS                                                             DATE ISSUED



________________________________________________________________________________________________

        20. Inventories

None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                              DOLLAR AMOUNT
                                                                                              OF INVENTORY
                  DATE OF INVENTORY               INVENTORY SUPERVISOR                        (Specify cost, market or other
                                                                                              basis)



____________________________________________________________________________________________________

None    b. List the name and address of the person having possession of the records of each of the inventories reported
✔       in a., above.

                                                                                              NAME AND ADDRESSES
                                                                                              OF CUSTODIAN
                  DATE OF INVENTORY                                                           OF INVENTORY RECORDS



____________________________________________________________________________________________________

            21 . Current Partners, Officers, Directors and Shareholders

None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔           partnership.

            NAME AND ADDRESS                         NATURE OF INTEREST              PERCENTAGE OF INTEREST



______________________________________________________________________________________________________

None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔           directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
            corporation.
                                                                                       NATURE AND PERCENTAGE
                 NAME AND ADDRESS                                TITLE                    OF STOCK OWNERSHIP




__________________________________________________________________________________________________
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                                                                                                                                10

        22 . Former partners, officers, directors and shareholders

None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔       preceding the commencement of this case.

            NAME                                           ADDRESS                    DATE OF WITHDRAWAL



___________________________________________________________________________________________________

None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔       within one year immediately preceding the commencement of this case.

                  NAME AND ADDRESS                              TITLE                          DATE OF TERMINATION



___________________________________________________________________________________________________

        23 . Withdrawals from a partnership or distributions by a corporation

None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
        during one year immediately preceding the commencement of this case.

                  NAME & ADDRESS                                                          AMOUNT OF MONEY
                  OF RECIPIENT,                            DATE AND PURPOSE               OR DESCRIPTION
                  RELATIONSHIP TO DEBTOR                   OF WITHDRAWAL                  AND VALUE OF PROPERTY




___________________________________________________________________

        24. Tax Consolidation Group.

None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔       consolidated group for tax purposes of which the debtor has been a member at any time within six years
        immediately preceding the commencement of the case.

            NAME OF PARENT CORPORATION                     TAXPAYER-IDENTIFICATION NUMBER (EIN)



_____________________________________________________________________________________________________

        25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

            NAME OF PENSION FUND                      TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                        * * * * * *
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                                                                                                                                                            11

            [If completed by an individual or individual and spouse]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial
            affairs and any attachments thereto and that they are true and correct.


                       11-4-2014
        Date __________________________                                          Signature                       /s/ Robert D. Coates
_____________________________________________
                                                                                 of Debtor

            Date __________________________                                      Signature_________________________________________
                                                                                 of Joint Debtor
                                                                                 (if any)



__________________________________________________________________________________________________________________________

            [If completed on behalf of a partnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief.


          Date __________________________                                              Signature
__________________________________________________


_________________________________________________
                                                                                                   Print  Name and Title
                                                                                                   Print Name and Title


            [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]




                                                                ____ continuation sheets attached

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
___________________________________________________________________________________________________

            DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

_____________________________________________________                                                      _____________________________
Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social-Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document.
Address
________________________________

_________________________________
Address


X _____________________________________________________                                                                ____________________
 Signature of Bankruptcy Petition Preparer                                                                                       Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.
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                             United States Bankruptcy Court
                                 Northern
                             _______________                  Illinois
                                             District Of _______________


In re Robert D. Coates

                                                                                         Case No. ___________

Debtor                                                                                              13
                                                                                         Chapter _________


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:

                                                                                                                       4,000.00
    For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                        1,200.00
    Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                    2,800.00
    Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

             ✔ D ebtor                          O ther (specify)

3. The source of compensati on to be paid to me is:

              ✔   D ebtor                       O ther (specify)

4. ✔ I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
     members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

   a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
      to file a petiti on in bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

   c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
      hearings thereof;
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   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Representation of the debtor in adversary proceedin gs and other contested bankruptcy matters;

   e. [Other provisions as needed]




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


                11-4-2014
      ___________________________            ___________________________________________________
                Date                                           Signature of Attorney


                                                       Law Offices of Steven O. Hamill
                                             _____________________________________________________________
                                                               Name of law firm
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B 201 (04/09/06)
                                         UNITED STATES BANKRUPTCY COURT

               NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                             OF THE BANKRUPTCY CODE
                    In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services
          available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
          types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
          notifies you that the Attorney General may examine all information you supply in connection with a
          bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily described. Thus,
          you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide
          to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved
budget and credit counseling agencies.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
           1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose debts are primarily
consumer debts are subject to a “means test” designed to determine whether the case should be permitted to proceed under chapter 7. If your income is
greater than the median income for your state of residence and family size, in some cases, creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
           2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take possession of and
sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
           3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain kinds
of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the purpose for which you filed the bankruptcy
petition will be defeated.
           4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be responsible for most
taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement obligations; most fines, penalties, forfeitures,
and criminal restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by
operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your future
earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your income and other factors. The court
must approve your plan before it can take effect.
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           3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations; most student loans;
certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your bankruptcy papers; certain debts for acts that
caused death or personal injury; and certain long term secured obligations.

          Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated, and any
decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

          Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings and is similar to
chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm or commercial fishing
operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

         A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                       Certificate of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this
notice required by § 342(b) of the Bankruptcy Code.
________________________________________                                                       ___________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                                Social Security number (If the bankruptcy petition
                                                                                               preparer is not an individual, state the Social Security
Address:                                                                                       number of the officer, principal, responsible person, or
________________________________________                                                       partner of the bankruptcy petition preparer.) (Required
                                                                                               by 11 U.S.C. § 110.)
X_______________________________________
Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

                                                                Certificate of the Debtor
          I (W e), the debtor(s), affirm that I (we) have received and read this notice.

_________________________________________                                           X___________________________________
Printed Name(s) of Debtor(s)                                                        Signature of Debtor         Date

Case No. (if known) ____________________                                            X___________________________________
                                                                                    Signature of Joint Debtor (if any) Date
